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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

  HASBROUCK HEIGHTS BOARD OF
  EDUCATION,                                          Case No. 2:21-cv-13691-JMV-ESK

                  Plaintiffs,
           vs.                                        NOTICE OF VOLUNTARY
                                                      DISMISSAL
  GOOGLE LLC,
  a Delaware limited liability company,
           and
  YOUTUBE, LLC,
  a Delaware limited liability company,
           and
  JMO PRODUCTIONS,
          and
  DOES 1-100,


           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Hasbrouck Heights

  Board of Education hereby gives notice that it voluntarily dismisses the above-captioned action

  without prejudice. Defendants have filed neither an answer to the complaint nor a motion for

  summary judgment as to these claims. Dismissal under Rule 41(a)(1) is therefore appropriate.




           Submitted this 18th day of August, 2021.


                                             Respectfully Submitted,
                                             Machado Law Group




                                             Jessika Kleen, Esq.

8/18/21
